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 STATE OF MINNESOTA                                                   DISTRICT COURT
 County of Hennepin                      Judicial District:           Fourth
                                         Case Type:                   Civil Other/ Misc.


 Scott Lindsey,

                  Plaintiff,                       )
                                                   )
          V.                                       )
                                                )
 Equifax Information Services, LLC,             )                     SUMMONS
                                                )
                  Defendants.                   1




       1.YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you. The
Plaintiffs Complaint against you is attached to this Summons. Do not throw these papers
away. They are official papers that affect your rights. You must respond to tliis lawsuit even
though it may not yet be filed with the Court and there may be no court file number on this
Summons.

       2.YOU MUST REPLY WITHIN 20 DAYS TO PROTECT YOUR RIGHTS.
You must give or mail to the person who signed this Summons a written response called
an Answer within 20 days of the date on which you received this Summons. You must send
a copy of your Answer to the person who signed this summons located at:

                333 South 7th Street, Suite 2450
                Minneapolis, NIN 55402

       3.YOU MUST RESPOND TO EACH CLAIM. The Answer is your written
response to the Plaintiffs Complaint. In your Answer you must state whether you agree or
disagree with each paragraph of the Complaint. If you believe the Plaintiff should not be
given everything asked for in the Complaint, you must say so in your Answer.

         4.YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN
                                               1

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RESPONSE TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS
SUIVIMONS. If you do not Answer within 20 days, you will lose this case. You will not get
to tell your sid'e of the story, and the Court may decide against you and award the Plaintiff
everything asked for in the Complaint. If you do not want to contest the claims stated in the
Compl'aint, you do not need to respond. A default judgment can then be entered against you
for the reiief requested in the Complaint.
       5. LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you do
not have a lawyer., the Court Adrninistrator may have information about places where you
can get legal assistance. Even if you cannot get legal help, you must still: provide a
written Answer to protect your rights or you may lose the case.
       6.AI.TERNATIVE DISPUTE RESOLUTION. The parties may agree to or be
ord~ered to participate in an alternative dispute resolution process under Rule 114 of the
Minnesota General Rules of Practice. You must still send your written response to the
Complaint even if you expect to use alternative means of resolving this dispute.



Dated: June 20, 2022                       MAD.GETT LtiW

                                           /s/Catrina Smith
                                           Catrina Smith (#0403229)
                                           333 S 7th Street, Suite 2450
                                           Minneapolis, MN 55402
                                           (612) 470-5582
                                           tsmidi@madgettlaw.com
                                           ATTORNEY FOR PLAINTIFF




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     STATE OF MINNESOTA                                                        DISTRICT COURT
     County of Hennepin                             Judicial District:         Fourth
                                                    Case Type:                 Civil Other/ Misc.


     Scott Lindsey,

                      Plaintiff,

              V.


     Equifax Information Services, LLC,                                  COMPLAINT

                      Defendants.




             Plaintiff, by and through his attorney, for his complaint against Defendants upon

    personal knowledge as to his own facts and conduct and on information and belief as to all

    other matters, states and alleges as follows:

                                          INTRODUCTION

             The following case involves a major credit reporting agency falsely reporting incorrect

    information concerning Capital One and Wells Fargo Dealer Services. Defendant Equifax

    Inforrnation Services, LLC ("Equifax"), has repeatedly reported incorrect information

    regarding legally obsolete debt despite Plaintiffls attempts to correct the highly prejudicial

    false credit information contained in PlaintifPs report. Despite repeated attempts to correct

    this information, Defendants failed to respond to Plaintiffls dispute, yet failed to delete the

    information as required by law. The effect of Defendants' actions was damage to Plaintiffls

    credit score frustrating, if not totally preventing, his ability to utilize the credit system. Based

_   on the false information reported by Defendants, Plaintiff was forced tn pa_y_ higher interest _
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rates for his home. Without other recourse available and after numerous attempts to

amicably resolve this matter, Plaintiff commenced the action.

                    STATEMENT OF JURISDICTION AND VENUE

         1.     This Court has Jurisdiction over the subject matter of this action pursuant to

15 U.S.C. § 1681 et. seq;., The Fair. Credit Reporting Act ("FCRA"), which permits

consumers to file suit in the courts of their respective states.

         2.     Venue is proper pursuant to 1NTinn. Stat. 5542.09 because the cause of action

arose within the State of Nlinnesota and the County of Hennepin.

                                                PARTIES

         3.     Plaintiff is informed and believes, and thereon alleges, that at all times relevant

Defendant conducted business in the State of Minnesota and in the County of Hennepin.

         4.     EquifaY Infoi-mation Sei-vices, LLC ("Equifax") is a nationally recognized

agency (CRfl) registered in the State of Georgia with a service of process address listed as

2345 Rice Street, Suite 230, Roseville, Minnesota.

                                              FACTS

5.       Plaintiff is an individual, and, therefore, at all times mentioned herein was a

"consumer" as defined by the Fair Credit Reporting Act,15 U.S.C. § 1681a(c).

6.       Defendants (collectively "CRAs") prepared and issued consumer reports concerning

Plaintiff that included false and inaccurate information.

7.       Plaintiff promptly disputed the alleged debt with the CRAs.

8.       Specifically, Plaintiff sent all Defendants such notices via certified mail on or about

October 27, 2021.

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9.       Plaintiff is in possession of copies of those letters verified as accurate and unchanged

by a third party, and Plaintiff is in possession of certified mail receipts proving the letters

were mailed and delivered.

10.      Defendant failed to respond to Plaintiffls dispute yet failed to delete the information

as required by law.

11.      Various individuals seeking to lend to Plaintiff consulted the consumer reports

furnished by Defendant containing the false and misleading information at issue.

12.      As a result of Defendant's conduct, Plaintiff suffered from anger, frustration, anxiety,

and humiliation and has been unfairly excluded from the benefits of the credit system.

13.      Plaintiff was further harmed by incurring legal and professional fees in consulting

with various experts regarding the course of action for correcting the errors and in bringing

this suit.

                             APPLICABLE STATUTORY LAW

14.      CRAs that sell consumer reports must comply with the FCRA. FCRA Section 607(b),

15 U.S.C. § 1681e(b), requires a CRA to establish and follow reasonable procedures to assure

the maximum possible accuracy of consumer report information, including assuring that

only information pertaining to the consumer at issue is contained in his or her report and

that procedures exist to assure qutdated information is not contained on consumer reports.

15.      Section 611 of the FCRA,15 U.S.C. § 1681i, requires a CRA, upon notice of disputed

information, to conduct a reasonable reinvestigation to determine the accuracy of

information disputed by a consumer who is the subject of a report.



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16.      The same section requires that notice of the reinvestigation to be promptly provided

to the furnisfier of the credit information.

17.      CRAs must also assure that outdated and obsolete information is removed from

reports. Section 605 of the FCRA,15 U.S.C. 5 1681c addresses the maximum time that

various accounts may be listed on a consumer credit report.

                                             FIRST COUNT

                                Willful Noncompliance with the FCRA

18.      Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully stated herein.

19.      The CRAs all willfally failed to comply with the requirements of FCRA, including but

not limited to:

                a. failing to comply with the requirements of Section 605, 15 USC § 1681c(4), in

                   publisliing a report with obsolete information.

                b. failing to comply with the requirements of Section 611, 15 USC 5 1681i, in

                   failing to conduct a reinvestigation of the disputed.

                c. failing to follow reasonable procedures to assure maxunum possible accuracy

                   of the information in reports concerning Plaintiff, as required by 15 USC §

                   1681e(b);

                d. failing to comply with the requirements of 15 USC ~ 1681g;

                e. failing to comply with the requirements of 15 USC 5 16811; and

                f. failing to comply with the requirements of 15 USC § 1681c-2.



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      As a result of Defendants' failure to comply with the requirements of the FCRA, Plaintiff

         has suffered, and continues to suffer, actual damages, including economic loss, lost

        opportunity to receive credit, damage to reputation, interference with his normal and

       usual activities, emotional distress, anger, frustration, humiliation, anxiety, fear, worry,

         and related health problems, for which Plaintiff seeks damages in an amount to be

                                          determined by the jury.

                                           SECOND COUNT

                               Negligent Noncompliance with the FCRA

20.      Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully stated herein.

21.      The CRAs all negligently failed to comply with the requirements of FCRA, including

but not limited to:

                d. failing to comply with the requirements of Section 605, 15 USC § 1681c(4), in

                   publishing a report with obsolete information.

                e. failing to comply with the requirements of Section 611, 15 USC 5 16811, in

                   failing to conduct a reinvestigation of the disputed.

                f. failing to follow reasonable procedures to assure maximum possible accuracy

                   of the information in reports concerning Plaintiff, as required by 15 USC §

                   1681e(b);

                d. failing to comply with the requirements of 15 USC 5 1681g;

                e. failing to comply with the requirements of 15 USC § 16811; and

                f. failing to comply with the requirements of 15 USC 5 1681c-2.

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22.      As a result of Defendants' failure to comply with the requirements of the FCRA,

Plaintiff has suffered, and continues to suffer, actual damages, including economic loss, lost

opportunity to receive credit, damage to reputation, interference with his normal and usual

activities, emotional distress, anger, frustration, humiliation, anxiety, fear, worry, and related

health problems, for which Plaintiff seeks damages in an amount to be determined by the

jury.

                                           Jury Demand

23.      Plaintiff liereby demands a trial by jury.

                                         Prayer for Relief

        WHEREFORE, Plaintiff, by and through her attorney, respectfully prays for

Judgment to be entered in favor of Plaintiff and against Defendant as follows:

                a.      All actual compensatory damages suffered;

                b.      statutory damages in an amount up to $1,000.00 per violation per plaintiff,

                pursuant to 15 U.S.C. §1681n;

                C.      Injunctive relief prohibiting such conduct in the future;

                d.      Reasonable attorney's fees, litigation expenses, and cost of suit; and

                e.      Any other relief deemed appropriate by this Honorable Court.



Dated: June 20, 2022                          1VIADGEI"T LAW

                                               /s/Catrina Smith
                                               Catrina Smith (#0403229)
                                               333 S 7th Street, Suite 2450
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                                       ATTORNEY FOR PLAINTIFF




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